237 F.3d 670 (D.C. Cir. 2001)
    National Wildlife Federation, et al., Petitionersv.Carol M. Browner, Administrator, Environmental Protection Agency and Environmental Protection Agency, RespondentsAmerican Forest and Paper Association, Inc., Intervenor
    No. 00-1258
    United States Court of Appeals  FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued November 7, 2000Decided January 30, 2001
    
      On Motion to Dismiss the Petition for Want of Jurisdiction
      Raymond B. Ludwiszewski argued the cause for Industry  Petitioners Boise Cascade Corporation, et al.  With him on the briefs were Peter E. Seley and Scott H. Segal.  Gene E.  Godley entered an appearance.
      Neil S. Kagan argued the cause and filed the brief for  petitioners National Wildlife Federation, et al.
      Jon M. Lipshultz, Attorney, U.S. Department of Justice,  argued the cause for respondents. Lois J. Schiffer, Assistant  Attorney General, Karen L. Egbert, Attorney, and Carol Ann  Siciliano, Attorney, Environmental Protection Agency, were  on the brief.  Seth M. Barsky, Attorney, U.S. Department of  Justice, entered an appearance.
      Before:  Williams and Tatel, Circuit Judges, and  Silberman, Senior Circuit Judge.
      Opinion for the Court filed by Circuit Judge Tatel.
      Tatel, Circuit Judge:
    
    
      1
      The National Wildlife Federation  and various pulp, paper, and paperboard companies petitioned  for review of the Environmental Protection Agency's new  effluent guidelines for paper mills.  At this stage of the  proceedings, we consider Industry petitioners' motion to dismiss NWF's petition for lack of subject matter jurisdiction. This is a simple issue.  Because the statutory provision  Industry petitioners invoke is not jurisdictional, we deny their  motion.
    
    
      2
      * In April of 1998, EPA promulgated regulations, known as  the "Cluster Rules," governing parts of the paper and pulp  industry.  The Rules include both effluent limitation guidelines under the Clean Water Act and emission standards  under the Clean Air Act.  See National Emission Standards  for Hazardous Air Pollutants for Source Category:  Pulp and  Paper Production, 63 Fed. Reg. 18,504 (April 15, 1998).
    
    
      3
      Six environmental groups, including the National Wildlife  Federation, filed a joint petition for review of the Clean  Water Act portion of the Rules in the Ninth Circuit.  Various  paper producers--we will refer to them collectively as "Industry petitioners"--then filed petitions for review of the effluent guidelines here and in the Fourth and Eleventh Circuits. The three Industry petitions were transferred to the Ninth Circuit, which consolidated them with NWF's.  Industry petitioners moved to dismiss the NWF petition for lack of subject  matter jurisdiction or, in the alternative, to transfer the case  to this circuit.
    
    
      4
      Without ruling on the motion to dismiss, the Ninth Circuit  transferred the case here.  Nat'l Wildlife Fed'n v. Browner,  No. 98-70506 (9th Cir. Nov. 3, 1989) (order granting transfer  of venue to D.C. Circuit).  We bifurcated the motion to  dismiss and the merits, holding the merits in abeyance pending resolution of the jurisdictional issue.  Both NWF and  EPA opposed the motion to dismiss.  While that motion was  pending, Industry petitioners filed an additional motion to  sanction both NWF and EPA for alleged disclosure, concealment, and use of protected confidential business information.
    
    II
    
      5
      Section 509(b)(1) of the Clean Water Act provides:
    
    
      6
      Review of the [EPA] Administrator's action (A) in promulgating any standard of performance under section 1316 of this title, (B) in making any determination pursuant to section 1316(b)(1)(C) of this title, (C) in promulgating any effluent standard, prohibition, or pretreatment standard under section 1317 of this title, (D) in making any determination as to a State permit program submitted under section 1342(b) of this title, (E) in approving or promulgating any effluent limitation or other limitation under section 1311, 1312, 1316, or 1345 of this title, (F) in issuing or denying any permit under section 1342 of this title, and (G) in promulgating any individual control strategy under section 1314(l) of this title, may be had by any interested person in the Circuit Court of Appeals of the United States for the Federal judicial district in which such person resides or transacts business which is directly affected by such action upon application by such person.... 33 U.S.C. § 1369(b)(1) (emphasis added).  Industry petitioners assert that the language specifying review in the circuit  where a petitioner "resides or transacts business" is jurisdictional.  They urge us to dismiss for lack of jurisdiction  because, they claim, only one of the NWF petitioners--the  Clark Fork-Pend Oreille Coalition--"resides or transacts  business" in the Ninth Circuit, and this petitioner lost standing (or, alternatively, its claim became moot) nine months  after NWF's petition was filed.  Disagreeing, NWF argues  that the "resides or transacts business" clause in section  509(b)(1) is a venue provision, that venue in the Ninth Circuit  was properly established, and that Industry petitioners'  standing and mootness arguments are without merit.  To  resolve Industry petitioners' motion to dismiss, we need  address only the parties' disagreement over the meaning of  section 509(b)(1).
    
    
      7
      So far as we can tell, no court has yet decided whether the  "resides or transacts business" requirement of section  509(b)(1) is jurisdictional.  Courts and commentators, however, have assumed that similar provisions in other statutes  determine venue, not jurisdiction.  See Fed. Power Comm'n  v. Texaco, 377 U.S. 33, 37-39 (1964) (assuming a provision  stating that an aggrieved party "may obtain review ... in the  court of appeals of the United States for any circuit wherein  the natural-gas company to which the order relates is located  or has its principal place of business, or in the United States  Court of Appeals for the District of Columbia" was a venue  provision, despite an explicit reference to "jurisdiction" later  in the provision, see 15 U.S.C. § 717r(b));  15 Charles Alan  Wright, Arthur R. Miller, &amp; Edward H. Cooper, Federal  Practice and Procedure § 3816 at 166-67 n.4 (2d ed. 1986)  (implying that a provision in the Federal Trade Commission  Act allowing review in "any circuit ... where such person,  partnership, or corporation resides or carries on business" is  a venue provision).  Moreover, in Texas Municipal Power  Agency v. EPA, 89 F.3d 858 (D.C. Cir. 1996), we decided that  an analogous provision of the Clean Air Act, section 307(b)(1),  determines venue.  That section provides that
    
    
      8
      [a] petition for review of action of the Administrator in promulgating any national primary or secondary ambient air quality standard, [any standard or any requirements under a variety of other specified sections of the Act], or any other nationally applicable regulations promulgated, or final action taken, by the Administrator under this chapter may be filed only in the United States Court of Appeals for the District of Columbia.  A petition for review of ... any other final action of the Administrator under this chapter ... which is locally or regionally applicable may be filed only in the United States Court of Appeals for the appropriate circuit.
    
    
      9
      42 U.S.C. § 7607(b)(1) (emphasis added).  We rejected EPA's  contention that the section was jurisdictional.  Noting that it  "[could] be read as prescribing the choice among circuits and  not the power of a particular federal circuit court to hear a  claim," see Texas Mun., 89 F.3d at 867, we suggested that  "the provision's reference to where a petitioner may 'file' "  and its "unequivocal characterization in the legislative history  as a venue provision" both supported the view that it specified venue.  Id.  Although we acknowledged that there was  "some 'jurisdictional' language" elsewhere in the section, such  as a "clearly jurisdictional 60-day limit for filing petitions for  review," and that the language was "mandatory rather than  providing a 'choice' of circuits," we nevertheless thought these  facts "not determinative":
    
    
      10
      we think it more significant that federal court power to entertain petitions is clear, that the provision refers to where a petitioner must file, and that the apparent congressional purpose was to place nationally significant decisions in the D.C. Circuit.  Given the less than clear language, the structure of the section--dividing cases among the circuits--and the legislative history indicate that § 307(b)(1) is framed more as a venue provision.
    
    
      11
      Id.
    
    
      12
      In light of Texas Municipal, we think the statute at issue  in this case determines venue, not jurisdiction.  Like the  statutory language in Texas Municipal, section 509(b)(1)'s  language--"[r]eview of the Administrator's action ... may be  had by any interested person in the Circuit Court of Appeals  of the United States for the Federal judicial district in which  such person resides or transacts business"--is best read as  "prescribing the choice among circuits and not the power of a  particular federal circuit court to hear a claim."  See Texas  Mun., 89 F.3d at 867.  In fact, for at least two reasons, this  reading has even more facial plausibility here than it did in  Texas Municipal.  To begin with, the provision at issue in  Texas Municipal contained exclusive language stating that a  petition for review "may be filed only" in the specified circuit. See id. at 867 n.6 (emphasis added).  Despite similar language  in, for example, the general venue statute for the district  courts, see 28 U.S.C. § 1391 (a) &amp; (b), this exclusive language  could have been taken to suggest that the specified court had  exclusive jurisdiction over a particular kind of case.  In  concluding otherwise, we relied on a variety of other factors,  including the legislative history and the provision's focus on  where a petitioner had to "file."  Because section 509(b)(1)  contains no such exclusive language, it is far less plausible to  think it confers exclusive jurisdiction in the first place.  The  Clean Air Act provision at issue in Texas Municipal, moreover, required petitioners to file particular kinds of petitions  in particular courts--petitions for review of national actions in  this circuit, and petitions for review of regional actions in the  geographically appropriate circuit.  Section 509(b)(1) simply  allows for review of any enumerated claim in whichever  circuit an interested person resides ortransacts business.  Its  purpose is thus even more clearly to "divid[e] cases among  the circuits," see Texas Mun., 89 F.3d at 867, placing decisions in the circuits in which "interested person[s]" are located, and thus ensuring, as EPA suggests, that "the appellate  court that hears the matter has some direct connection to the  parties involved in the proceeding."  Brief for EPA at 3.
    
    
      13
      Our conclusion that section 509(b)(1) determines venue  finds further support from the fact that, as in Texas Municipal, "federal court power to entertain petitions" under the  section is clear:  under section 509(b)(1), every interested  person challenging an enumerated action has a court in which
    
    
      14
      to obtain review.  Industry petitioners' interpretation conflicts with this broad grant of power, since under their  reading, "the punishment for a petitioner's failure to file its  petition initially in the proper circuit court of appeals ... is  dismissal of the petition for want of jurisdiction, even where  the petitioner otherwise can demonstrate standing to bring its  petition," Brief for EPA at 3, thus either denying review to an  otherwise qualified person, if the statute of limitations has  run, or making review more burdensome.  Reading section  509(b)(1) as a venue provision comports better with the broad  grant of appellate authority, since the standard remedy for  improper venue is to transfer the case to the proper court  rather than dismissing it--thus preserving a petitioner's ability to obtain review.  See Wright, Miller, &amp; Cooper § 3827 at  268-29 ("It is not surprising that in most cases of improper  venue the courts conclude that it is in the interest of justice to  transfer to a proper forum rather than to dismiss.").
    
    
      15
      Disagreeing with this reading of the statute, Industry  petitioners argue that Texas Municipal actually supports  their claim that section 509(b)(1) is jurisdictional, pointing out  that the provision at issue in that case specified where a  petition for review "may be filed," while the provision here  specifies where "[r]eview ... may be had."  Noting that our  decision in Texas Municipal singled out, among other factors,  "the provision's reference to where a petitioner may 'file,' "  Texas Mun., 89 F.3d at 867, Industry petitioners argue that  "the Court recognized [in Texas Municipal] that the language in Clean Air Act § 307(b)(1) is intended to limit the  petitioner's ability to file a challenge to agency action in  particular fora.  The language of Clean Water Act  § 509(b)(1), on the other hand, limits the court's ability to  review such a petition."  Brief for Appellant at 7 n.1.
    
    
      16
      Though perhaps not "frivolous" in the Rule 11 sense, see  Fed. R. Civ. P. 11(b)(2), this argument is exceptionally unconvincing.  As we have already pointed out, our concern with  the word "file" in Texas Municipal was motivated by the  exclusive language in the provision there--language not found  in section 509(b)(1).  More to the point, it is simply not clear,  as Industry petitioners assert, that section 509(b)(1)'s language focuses on courts rather than petitioners.  The provision does not explicitly address the courts:  it does not say,  for example, that "only the court where any interested party  resides" may review a petition.  Instead, it limits only where  review "may be had."  And unlike the other provisions Industry petitioners mention that confer jurisdiction based on  residence, section 509(b)(1) never uses the word "jurisdiction."  Cf., e.g., 26 U.S.C. § 7609(h)(1);  Deal v. United States,  759 F.2d 442, 444 (5th Cir. 1985) (interpreting 26 U.S.C.  § 7609(h)(1) as a jurisdictional provision).  Moreover, although section 509(b)(1) does not use the word "file," it does  state that review may be had by an interested person in the  appropriate circuit "upon application by such person" (emphasis added).  Thus, like the provision in Texas Municipal,  it clearly directs petitioners where to file.
    
    
      17
      Even more unconvincing is Industry petitioners' second  (and main) argument for reading section 509(b)(1) as jurisdictional.  Pointing out that courts have found otherprovisions  in the same section--such as the enumeration of Administrator actions and the limitation to "interested persons"--to be  jurisdictional, see City of Baton Rouge v. EPA, 620 F.2d 478,  480 (5th Cir. 1980) (stating that "the Courts of Appeals have  jurisdiction for direct review only of those EPA actions  specifically enumerated in 33 U.S.C. § 1369(b)(1)"), Montgomery Envtl. Coalition v. Costle, 646 F.2d 568, 577-78 (D.C.  Cir. 1980) (finding that the term "interested person" in  section 509(b) incorporates the jurisdictional injury-in-fact  requirement), Industry petitioners argue that it would be  "anomalous if all the different limitations on judicial review  embodied in section 509(b)(1) are considered jurisdictional  except the provision limiting the court in which review may be  had."  Brief for Appellant at 6.  Wholly undercutting this  argument, Texas Municipal found the fact that the judicial  review provision at issue there also contained some jurisdictional restrictions to be "not determinative."  89 F.3d at 867.
    
    
      18
      Industry petitioners could have argued--but did not--that  unlike in Texas Municipal, the legislative history of the Clean  Water Act is not "unequivocal."  The Senate Report accompanying the original Senate version of the Act states that "[f]or ... actions which run only to one region, [section 509]  places jurisdiction in the U.S. Court of Appeals for the  Circuit in which the affected State or region ... is located." S. Rep. No. 92-414, at 85 (1971) (emphasis added).  Even if  the significance of this snippet of legislative history were  clear, we doubt it would change our view of section 509(b)(1). For at least two reasons, however, its significance is not at all  clear.  First, the judicial review provision in the Senate  version of the bill differed substantially from the one enacted. See S. Conf. Rep. No. 92-1236, at 147-48 (1972).  The legislative history cited above thus cannot be viewed as commenting  directly on the language at issue here.  Second, Congress  subsequently revised section 509(b)(1), changing the original  phrase, "resides or transacts such business," to "resides or  transacts business which is directly affected by such action...."  See Historical and Statutory Notes, 1987 Amendment, 33 U.S.C.A. § 1369, at 381 (West Supp. 2000).  The  legislative history accompanying these revisions expressly  refers to section 509(b)(1) as a "venue" provision at least six  separate times.  See S. Rep. No. 99-50, at 31 (1985) ("The  purpose of the changes ... is to clarify the proper venue for  court of appeals review....") (emphasis added);  id. at 32  ("In order to eliminate ... the potential for threshold litigation over proper venue, the Committee amendment changes  the venue provision....") (emphasis added);  H.R. Conf. Rep.  No. 99-1004, at 164 (1986) ("The purpose of the changes ...  is to clarify the proper venue for court of appeals review.... The Senate bill provides that proper venue for judicial review  ... shall be in the Circuit Court of Appeals [where] the  applicant resides or transacts business....") (emphasis added);  Section-by-Section Analysis of the Water Quality Act of  1987, 133 Cong. Rec. H131 (daily ed. Jan. 7, 1987), reprinted  in 1987 U.S.C.C.A.N. 5, 42 ("Subsection (a) amends Section  509(b)(1) ... by modifying the choice of venue available for  persons seeking judicial review of certain actions taken by the  Administrator.") (emphasis added).  Though it is certainly  true, as Industry petitioners argue, that "subsequent legislative history is a hazardous basis for inferring the intent of an  earlier Congress," Pension Benefit Guaranty Corp. v. LTV Corp., 496 U.S. 633, 650 (1990) (internal quotation marks  omitted), it is nonetheless sufficient in this case to offset any  weight we might give the fragment from the earlier Senate  Report.
    
    
      19
      In view of these considerations, we hold that section  509(b)(1) determines venue, not jurisdiction.  Since objections  to venue may be waived, see Wright, Miller, &amp; Cooper  § 3829 at 309, and since Industry petitioners concede that  "[t]he propervenue of the present case is no longer at issue,"  Reply Brief for Appellant at 2, we reach neither Industry  petitioners' nor NWF's remaining arguments.  Industry petitioners' motion to dismiss is denied, and their additional  motion for sanctions is deferred to the merits panel.
    
    
      20
      So ordered.
    
    